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      !?'     UNITED STATES . or AMERICA
 10                                         UNI'J:ED S'f.P.>TE$ DISTRIC'.r .CbORT
 11                                   f,OR TB:E CENTRAL DISTRICT air CAL.IFORNIA
 1i2          d�lITED Wi'ATES OF �ME:l?,ICA,
 ;t3,                           Plaintiff,
                                                                               (REDACTED)
                                                             ,WU)ER SEAL
15           RICARDO J?ACBECO,




                                ?his- constitutes the plea ,agreement between RICARDO PACH�CO
iGi          { "4ef.endant") a,1jd th� ,Qnited States JH;.to,rney 1 :i;l 0'.j:fige fot the CentJ:ial
20          Distri�t of C.alir'ori1ia (:'1frt� OSAO'q iti oonn,�pt.;io'fi W.i(th ah
21          tnvesti-gation of defendant ,. s acceptance Of bribe$ ii� -a CPttti.J:;flm.�be:c
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24. ·pxos.ec;1.:t!:dng; en:fqrcement I ·,i$'{ifna.bi,str.ative, o:t re.g-ulato:r:y authorities.
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